         Case 1:21-cr-00040-TNM Document 548 Filed 03/02/23 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )                  Case No. 1:21-cr-40
                                    )
QUAGLIN                             )
____________________________________)

                  SECOND SUPPLEMENT TO REPLY TO RESPONSE TO
                          THIRD MOTION FOR RELEASE

TO THE HONORABLE COURT:

       On March 2, 2023, one of Mr. Quaglin’s attorneys was allowed to visit with Mr. Quaglin.

Mr. Quaglin reported that he has not been provided with an opportunity to view the discovery

that was dropped off with the prison litigation department on February 28. Further, he was told

by an inmate that it may take “weeks” to have an opportunity to view his discovery. During Mr.

Quaglin’s last stay at the DC Jail in 2021, Mr. Quaglin’s attorney left an electronic storage device

with the Jail litigation department and Mr. Quaglin was never given access. The Government

lost that electronic storage device when Mr. Quaglin was transferred. Mr. Quaglin is also

deprived of access to Lexis for legal research.

       On February 27, 2023, Mr. Quaglin’s attorney, pursuant to instructions given to him by

the Jail, sent an email to the Jail and requested that he be included on the Jail’s list of approved

legal calls for Christopher Quaglin. Exhibit A. Mr. Quaglin has been making this request for

weeks from his end. Mr. Quaglin’s attorney received an automatic response to his email, but was

not provided with access to confidential legal phone calls with Mr. Quaglin. Exhibit B. To date,

no access has been granted. Mr. Quaglin is currently being illegally punished by the Jail in

violation of his civil rights and his general phone privileges have been cut off so he is not

permitted by the Jail to call his family or his attorneys.
         Case 1:21-cr-00040-TNM Document 548 Filed 03/02/23 Page 2 of 3




       Regarding the Jail’s inability to provide Mr. Quaglin with food he can eat, on March 1

and 2 Mr. Quaglin received products for breakfast that are known to contain gluten or to have

been cross contaminated with gluten by the manufacturer. The DC Jail staff has no training on

providing food for inmates like Mr. Quaglin with celiac disease so they do not know how to

identify foods that Mr. Quaglin cannot eat. Fuerther, Mr. Quaglin is being illegally punished and

is not permitted to purchase food from the commissary.

       On March 2, 2023, Mr. Quaglin’s lunch came with a slice of white bread laying on top of

the other items on his tray. As this was obvious cross contamination with gluten, Mr. Quaglin

informed the staff that he could not eat the food on the tray and requested another tray. The Jail

acknowledged that the bread was not gluten free and took the tray back to the kitchen. The staff

returned with a new tray that contained nothing but eight slices of regular white bread.

       It is a prima facie violation of the Eighth Amendment when a Jail deprives an inmate of a

serious basic human need and the prison officials are deliberately indifferent to the prison’s

condition. Wilson v. Seiter, 501 U.S. 294, 299-300 (1991) (citing Rhodes v. Chapman,452 U.S.

337, 347 (1981) (holding "unnecessary and wanton infliction of pain" and deprivations denying

"the minimal civilized measure of life's necessities," are sufficiently grave to form the basis of an

Eighth Amendment violation)). This cruel joke perpetrated by the Jail staff shows deliberate

indifference to Mr. Quaglin’s most basic human need, the need for food.

       Mr. Quaglin is engaging in the Jail’s grievance process but to no avail. He will continue

to update the Court until he is granted a hearing on the matter.
        Case 1:21-cr-00040-TNM Document 548 Filed 03/02/23 Page 3 of 3




Dated: March 2, 2023                                       Respectfully submitted,

                                                           /s/ Jonathan Gross
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                               CERTIFICATE OF SERVICE

 I hereby certify that a copy of the foregoing is being served on opposing counsel via email on

                                        March 2, 2023

                                      /s/ Jonathan Gross
                                        Jonathan Gross
